Case:18-05288-EAG11 Doc#:292 Filed:12/18/19 Entered:12/18/19 13:36:36                            Desc: Main
                           Document Page 1 of 2


                               UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF PUERTO RICO

                                               Minute Entry

  Hearing Information:

  Debtor: SKYTEC INC
  Case Number: 18-05288-EAG11                                               Chapter: 11
  Date / Time / Room: 12/18/2019 10:00 am
  Bankruptcy Judge: EDWARD A. GODOY
  Courtroom Clerk: MIGDALIA GARCIA
  Reporter / ECR: MARIA FRONTERA

  Matter:

  CHAPTER 11 DISCLOSURE STATEMENT DATED 10/17/2019 (#249)
  OBJECTION FILED BY LOGISTIC SYSTEMS, INC. (#288)

  Appearances:

  ALEXIS FUENTES HERNANDEZ - Debtor
  MARISTELLA SANCHEZ – Oriental Bank
  CARLOS RODRIGUEZ VIDAL – Logistic Systems, Inc.

  Minutes of Proceedings:

           This hearing was for the approval of the Second Amended Disclosure Statement, dated October
  17, 2019, at docket number 249 and the objection to it filed by Logistic Systems, Inc. at docket number
  288. But, on December 17, 2019 at docket number 291, the debtor filed, as an attachment to its reply to
  Logistic’s objection, a redlined draft of a proposed Third Amended Disclosure Statement. No other
  creditor has filed an objection to the Second Amended Disclosure Statement.

           Skytec attached to its reply the proposed Third Amended Disclosure Statement to address and
  correct the deficiencies raised by Logistic in its objection to the Second Amended Disclosure Statement.
  Present at the hearing were the debtor’s witnesses, the debtor’s CFO, Annie Astor Muñoz,, and the
  debtor’s financial bankruptcy advisor, CPA Luis Carrasquillo Ruiz. The debtor proffered, as recorded in
  greater detail in the audio record of this hearing, that their testimonies would establish that the Second
  Amended Disclosure Statement met the adequate information requirement of section 1125(a). The debtor
  also proffered that these two witnesses would testify that the draft of the Third Amended Disclosure
  Statement at docket number 291 only added additional information about the debtor’s operations and
  financial condition to address the objection by Logistic, and provided more adequate information about
  the debtor, not less.

          The court asked Logistic and Oriental Bank whether they wanted these two witnesses to be sworn
  in and testify at the hearing, and both creditors said “no.” Thus, the court accepted the debtor’s proffer
  and found that the draft of the Third Amended Disclosure Statement contains the adequate information
  required by section 1125(a) of the Bankruptcy Code. Accordingly, the court ordered the debtor to file the
  Third Amended Disclosure Statement as a separate docket entry. After it is filed, the court intends to
  approve the same without further notice or hearing because the only creditors that appeared at the hearing
  approved doing so, so that this case may be set for a confirmation hearing as expeditiously as possible.
Case:18-05288-EAG11 Doc#:292 Filed:12/18/19 Entered:12/18/19 13:36:36                           Desc: Main
                           Document Page 2 of 2


           The hearing on confirmation of the Second Amended Chapter 11 Plan, dated October 17, 2019, at
  docket number 250 is hereby set for January 30, 2020 at 9:30a.m. at the U.S. Bankruptcy Court for the
  District of Puerto Rico, Jose V. Toledo Federal Building & U.S. Courthouse, 300 Recinto Sur, third floor,
  Courtroom No. 3, Old San Juan, Puerto Rico.

         The court made clear that all parties reserve their right to raise any objection they wish to
  confirmation.




                                                     /s/EDWARD A. GODOY
                                                      U. S. Bankruptcy Judge
